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| IN THE UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF FLORIDA
PENSACOLA DIVISION

ED STATES OF AMERICA

Case No. 3:07mj173

EKSANDER V. BERMAN,

INITIAL APPEARANCE

The defendant appeared before the undersigned with without “counsel. I
have this date advised the defendant of the rights enumerated herein and have taken the following
action:

| 1. Advised that he/she is before a U.S. Magistrate Judge 7
2. Advised of the charge or charges —
3. Advised that he/she does not have to make any statement; —

that defendant has a right to consult with an attorney before
making any statement; that any statement made could be used
against defendant; that defendant will not be called upon
_ to enter a plea at this hearing
4. Advised of right to hire counsel, or have counsel appointed —
if found to be financially unable to hire counsel
5. Defendant waived attendance of counsel for this hearing and
advised waiver does not prevent requesting counsel for trial
6. Defendant executed CJA 23 —
7. Federal public defender appointed after determination YY

defendant unable to hire counsel (CJA 20)
10.

11.

12.

13.

14,

15.

16.

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Advised that defendant should obtain and file CJA 23 if
subsequently decides to request appointment of counsel

Defendant admitted financial ability to employ counsel
Counsel

Defendant found to be able to make full or partial
payment for appointed counsel

Federal public defender appointed solely for the purpose
of appearing at arraignment

Defendant to report to the U.S. Magistrate Judge in
days as to formal and final retention of private counsel

Since before the court on a complaint, defendant
was advised of right to preliminary hearing or
probable cause finding on the charge(s)

(a) Advised of right to waive preliminary hearing

(b) Advised of the consequences of waiver of
preliminary hearing

(c) Advised of right to subpoena witnesses and
produce evidence at preliminary hearing

(d) Advised of the consequence after preliminary
hearing

(e) Fix date and time for preliminary hearing (within
10 days if in custody; within 20 days if on bond)

(f) Waived preliminary hearing
Defendant advised of right to reasonable bail
Order Setting Conditions of Release entered
Government moved for detention without bail

(a) Government represented ready for detention
hearing immediately
(b)

(c)

(d)

(e)

(f)

JUDGES
NOTES:

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Government requested continuance of _
days (up to and including 3 days)

Defendant advised of right of ‘continuance
for up to and including 5 days

Detention hearing scheduled for-__3-24-2+ @ 2709

and Temporary Detention Order entered

Detention hearing conducted

1) Order of detention entered

2) Order Setting Conditions of Release entered
Defendant currently under order of incarceration

negating necessity of consideration of detention
on this charge(s) at this time

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Pil A

ELIZABETH M. TIMOTHY

UNITED STATES MAGISTRATE JUDGE

AUSA present at initial appearance: 4 Jt Vj<c 5

AFPD present at initial appearance: & Uchbwt

DATE:

August 22, 2007
